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                             IN THE UNITED           STATES DISTRICT COURT

                             FOR THE        SOUTHERN DISTRICT OF GEORGIA

                                                AUGUSTA DIVISION




UNITED STATES OF AMERICA,


               v.                                                              CR   109-073


REGINALD    DARRELL BEALE




                                                    ORDER




        Defendant      has    filed         a     motion    for       reduction       of    sentence    under          18


U.S.C.   § 3582(c)(2)         on the basis that Amendment 782 to the United States

Sentencing       Guidelines         has         revised         the    guidelines          applicable       to    drug

trafficking         offenses.           Even       though       Amendment       782      became     effective          on

November    1,       2014,    no    defendant         may        be    released       on    the     basis    of    the

retroactive amendment before November 1,                               2015.    See U.S.S.G. Amend.               788.

Thus,    the        Court    will       undertake           a     review       of    cases        involving       drug

trafficking         offenses       in       due    course.            If   Defendant        is    entitled        to    a

sentence     reduction         as       a    result        of    amendments         to      the    United     States

Sentencing Guidelines,              the Court will make such a reduction sua sponte.

Accordingly, Defendant's motion (doc. no. 441) is DEFERRED.1
        ORDER ENTERED at Augusta, Georgia, this <g^£>^day of January,
2015.




                                                                                      HALL

                                                                  ITATES   DISTRICT         JUDGE
                                                                      DISTRICT OF GEORGIA


        The Clerk is directed to terminate the motion for administrative purposes
